    Case 21-03020-sgj Doc 96 Filed 06/30/21                    Entered 06/30/21 23:18:34               Page 1 of 6




The following constitutes the ruling of the court and has the force and effect therein described.




Signed June 28, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

     ------------------------------------------------------------
     In re                                                        §       Chapter 11
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1 §                               Case No. 19-34054-sgj11
                                                                  §
                                         Debtor.                  §
     ----------------------------------------------------------- §
     UBS SECURITIES LLC AND UBS AG                                §       Adversary Proceeding
     LONDON BRANCH,                                               §
                                                                  §       No. 21-03020
                             Plaintiffs,                          §
                                                                  §
     vs.                                                          §
                                                                  §
     HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                                  §
                                         Defendant.               §
     -----------------------------------------------------------


     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
Case 21-03020-sgj Doc 96 Filed 06/30/21            Entered 06/30/21 23:18:34         Page 2 of 6



 ORDER GRANTING PLAINTIFFS’ MOTION TO COMPEL AND DENYING MOTION
            OF FORMER EMPLOYEES TO QUASH SUBPOENAS

         Upon consideration of: (i) Motion of Former Employees to Quash Subpoenas (Adv. Dkt.

 No. 70, the “Motion to Quash”); (ii) Plaintiffs’ Motion to Compel and Response to Motion of

 Former Employees to Quash Subpoenas filed by UBS Securities LLC and UBS AG London

 Branch (together, “UBS”), along with the Memorandum of Law, Tomkowiak Declaration, and

 Appendix filed in support of the Motion (Adv. Dkt. No. 74-76, collectively, the “UBS Motion”);

 (iii) Former Employees’ Response to UBS Motion to Compel, along with the Brief in Support of

 Former Employees’ Response to UBS Motion to Compel and Reply in Support of the Former

 Employees’ Motion to Quash (Adv. Dkt. No. 86-87); and (iv) all exhibits which UBS and the

 Former Employees stipulated were admissible for the purposes of the June 24, 2021 hearing on

 the Motion to Quash and the UBS Motion (Exhibits 1- 24 of Adv. Dkt. No. 89 and Exhibits 1-7 of

 Adv. Dkt. No. 90); and it appearing that this Court has jurisdiction over this matter pursuant to 28

 U.S.C. §§ 157 and 1334; and it appearing that this proceeding is a core proceeding pursuant to 28

 U.S.C. § 157(b); and it appearing that venue of this proceeding and the Motions is proper in this

 District pursuant to 28 U.S.C. §§ 1408-1409; and due, adequate, and sufficient notice of the

 Motions having been given; and after due deliberation and for the reasons stated on the record at

 the hearing conducted June 24, 2021, it is hereby ORDERED:

         1.     The UBS Motion is GRANTED;

         2.     The Former Employees must produce any documents responsive to the Production

 Subpoenas within 7 days from the date of entry of this Order;

         3.     Mr. Ellington, Mr. Leventon, Mr. Sevilla, and Mr. DiOrio must all appear for

 deposition pursuant to their respective Deposition Subpoenas by no later than Sunday, July 25,

 2021;


                                                  2
Case 21-03020-sgj Doc 96 Filed 06/30/21            Entered 06/30/21 23:18:34    Page 3 of 6



        4.      Counsel for the Former Employees shall promptly inform counsel for UBS of the

 anticipated date on which Ms. Lucas’s maternity leave will terminate;

        5.      Ms. Lucas shall appear for deposition pursuant to the Deposition Subpoena by no

 later than 30 days after the termination of her maternity leave;

        6.      The Motion to Quash is DENIED; and

        7.      Each side shall bear its own costs.



                                       ### End of Order ###




                                                  3
Case 21-03020-sgj Doc 96 Filed 06/30/21    Entered 06/30/21 23:18:34   Page 4 of 6



 Order prepared by:

 LATHAM & WATKINS LLP

 By /s/ Andrew Clubok

 Andrew Clubok (pro hac vice)
 Sarah Tomkowiak (pro hac vice)
 555 Eleventh Street, NW, Suite 1000
 Washington, District of Columbia 20004
 Telephone: (202) 637-2200
 Email: andrew.clubok@lw.com
        sarah.tomkowiak@lw.com

 Jeffrey E. Bjork (pro hac vice)
 Kimberly A. Posin (pro hac vice)
 355 South Grand Avenue, Suite 100
 Los Angeles, CA 90071
 Telephone: (213) 485-1234
 Email: jeff.bjork@lw.com
         kim.posin@lw.com

 Kathryn George (pro hac vice)
 330 North Wabash Avenue, Suite 2800
 Chicago, IL 60611
 Telephone: (312) 876-7700
 Email: kathryn.george@lw.com

 BUTLER SNOW LLP
 Martin Sosland (TX Bar No. 18855645)
 Candice M. Carson (TX Bar No. 24074006)
 2911 Turtle Creek Boulevard, Suite 1400
 Dallas, Texas 75219
 Telephone: (469) 680-5502
 E-mail: martin.sosland@butlersnow.com
         candice.carson@butlersnow.com

 Counsel for UBS Securities LLC and UBS
 AG London Branch




                                           4
            Case 21-03020-sgj Doc 96 Filed 06/30/21                                  Entered 06/30/21 23:18:34                        Page 5 of 6
                                                              United States Bankruptcy Court
                                                                Northern District of Texas
UBS Securities LLC,
      Plaintiff                                                                                                        Adv. Proc. No. 21-03020-sgj
Highland Capital Management, L.P.,
      Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: Jun 28, 2021                                               Form ID: pdf001                                                            Total Noticed: 9
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 30, 2021:
Recip ID                   Recipient Name and Address
aty                    +   Jamie Wine, LATHAM & WATKINS LLP, 885 Third Ave., New York, NY 10022-4874
aty                    +   Jeffrey E. Bjork, Latham & Watkins LLP, 355 S. Grand Ave., Ste. 100, Los Angeles, CA 90071-3104
aty                    +   Katherine George, LATHAM & WATKINS LLP, 330 North Wabash Avenue, Ste. 2800, Chicago, IL 60611-3695
aty                    +   Sarah Tomkowiak, Latham & Watkins LLP, 555 Eleventh Street, NW, Suite 1000, Washington, DC 20004-1359
aty                    +   Zachary F. Proulx, LATHAM & WATKINS LLP, 1271 Avenue of the Americas, New York, NY 10020-1401
ust                    +   Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Jun 28 2021 20:47:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        Jun 28 2021 20:47:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        Jun 28 2021 20:47:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 30, 2021                                            Signature:           /s/Joseph Speetjens
            Case 21-03020-sgj Doc 96 Filed 06/30/21                              Entered 06/30/21 23:18:34                    Page 6 of 6
District/off: 0539-3                                              User: mmathews                                                         Page 2 of 2
Date Rcvd: Jun 28, 2021                                           Form ID: pdf001                                                       Total Noticed: 9



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 28, 2021 at the address(es) listed below:
Name                             Email Address
Andrew Clubok
                                 on behalf of Plaintiff UBS Securities LLC andrew.clubok@lw.com
                                 andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com

Andrew Clubok
                                 on behalf of Plaintiff UBS AG London Branch andrew.clubok@lw.com
                                 andrew-clubok-9012@ecf.pacerpro.com,ny-courtmail@lw.com

Candice Marie Carson
                                 on behalf of Plaintiff UBS AG London Branch Candice.Carson@butlersnow.com

Candice Marie Carson
                                 on behalf of Plaintiff UBS Securities LLC Candice.Carson@butlersnow.com

Clay M. Taylor
                                 on behalf of Interested Party James Dondero clay.taylor@bondsellis.com krista.hillman@bondsellis.com

Eric A. Soderlund
                                 on behalf of Interested Party Former Employees eric.soderlund@judithwross.com

Frances Anne Smith
                                 on behalf of Interested Party Former Employees frances.smith@judithwross.com michael.coulombe@judithwross.com

Juliana Hoffman
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors jhoffman@sidley.com
                                 txefilingnotice@sidley.com;julianna-hoffman-8287@ecf.pacerpro.com

Kimberly A. Posin
                                 on behalf of Plaintiff UBS AG London Branch kim.posin@lw.com colleen.rico@lw.com

Kimberly A. Posin
                                 on behalf of Plaintiff UBS Securities LLC kim.posin@lw.com colleen.rico@lw.com

Martin A. Sosland
                                 on behalf of Plaintiff UBS Securities LLC martin.sosland@butlersnow.com
                                 ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com

Martin A. Sosland
                                 on behalf of Plaintiff UBS AG London Branch martin.sosland@butlersnow.com
                                 ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com

Matthew A. Clemente
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors mclemente@sidley.com
                                 matthew-clemente-8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russell@sidley.com;dtwom
                                 ey@sidley.com

Melissa S. Hayward
                                 on behalf of Defendant Highland Capital Management L.P. MHayward@HaywardFirm.com, mholmes@HaywardFirm.com

Paige Holden Montgomery
                                 on behalf of Creditor Committee Official Committee of Unsecured Creditors pmontgomery@sidley.com
                                 txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                                 ce@sidley.com

Zachery Z. Annable
                                 on behalf of Defendant Highland Capital Management L.P. zannable@haywardfirm.com


TOTAL: 16
